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  1                     IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
  2                              EASTERN DIVISION

  3
      UNITED STATES OF AMERICA,             ) Docket No. 20 CR 688-2
  4                                         )
                                  Plaintiff,)
  5                                         )
                      vs.                   )
  6                                         )
      GEE SIONG KOK,                        ) Chicago, Illinois
  7                                         ) December 1, 2022
                                  Defendant.) 2:00 o'clock p.m.
  8

  9      TRANSCRIPT OF PROCEEDINGS - VIDEOCONFERENCE CHANGE OF PLEA
                  BEFORE THE HONORABLE JOHN J. THARP, JR.
10

11    VIDEOCONFERENCE APPEARANCES:

12
      For the Plaintiff:                 HON. JOHN R. LAUSCH, JR.
13                                       United States Attorney
                                         BY: MS. MELODY WELLS
14                                            MR. STEVEN J. DOLLEAR
                                         219 S. Dearborn St., Suite 500
15                                       Chicago, Illinois 60604

16
      For the Defendant:                 MURPHY LAW GROUP, LLC
17                                       BY: MR. EUGENE E. MURPHY, JR.
                                         161 North Clark Street, Suite 2550
18                                       Chicago, Illinois 60601

19
      Court Reporter:                    MR. JOSEPH RICKHOFF
20                                       Official Court Reporter
                                         219 S. Dearborn St., Suite 2128
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22
                        * * * * * * * * * * * * * * * * * *
23
                                PROCEEDINGS RECORDED BY
24                               MECHANICAL STENOGRAPHY
                            TRANSCRIPT PRODUCED BY COMPUTER
25
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  1        (Proceedings had via videoconference:)

  2               THE COURT:     Good afternoon, this is Judge Tharp.

  3   Calling the case of United States vs. Kok, 20 CR 688-2.

  4               Do we have counsel for the United States on the line?

  5               MS. WELLS:     Yes, your Honor, Melody Wells and Steve

  6   Dollear for the United States.

  7               THE COURT:     All right.     Good afternoon.

  8               Do we have counsel for Mr. Kok on the line?

  9               MR. MURPHY:     We do, Judge.      Gene Murphy for Mr. Kok.

10                THE COURT:     And Mr. Kok is on the line, as well, by

11    video?

12                THE DEFENDANT:      I am, your Honor.

13                THE COURT:     We're here for a change of plea hearing.

14    Are we prepared to go forward?

15                MR. MURPHY:     We are, Judge.

16                MS. WELLS:     Yes, your Honor.

17                THE DEFENDANT:      Yes, your Honor.

18                THE COURT:     Mr. Kok, we're going to go through a

19    process this afternoon that is required in order for me to

20    make a determination of whether it's appropriate to accept a

21    plea of guilty to any of the charges that have been brought

22    against you.      In order to make that determination, I

23    essentially have to make sure that you know what you're doing;

24    that you know that you give up very important rights if you

25    plead guilty; that you're competent to plead guilty; that
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  1   you've had the assistance of counsel; and, that your decision

  2   to plead guilty is one you have reached voluntarily, not one

  3   that has been thrust upon you in some fashion.

  4               In order to make those determinations, I will have to

  5   ask you quite a few questions this afternoon.               It's important

  6   that you answer those questions truthfully and accurately for

  7   several reasons.       First, in just a moment, I'll put you under

  8   oath, and it can be a federal crime to make false statements

  9   under oath.      So, you don't want to do that.          And, second, I

10    need accurate information in order to make the determination

11    of whether I can accept the plea of guilty.

12                So, it's important that you answer questions

13    truthfully and accurately.          To do that, you have to understand

14    the questions.      If you have any -- if you don't understand

15    something that I'm asking you about and would like me to try

16    to clarify it, let me know that and I'm happy to do that.

17                Also, if you wish to confer with your attorney at any

18    point during these proceedings before answering a question,

19    let me know that, as well, and we have the ability in this

20    software program to allow you and your counsel to have a

21    private conversation.        All right?

22                Okay.    Would you please raise your right hand.

23                THE DEFENDANT:      Okay.

24         (Defendant sworn.)

25                THE COURT:     Thank you.     You may put your hand down
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                                                                                      4

  1   now.

  2               THE COURT REPORTER:       Judge, I don't think we're

  3   hearing Mr. Kok.

  4               THE COURT:     Is that Joe?

  5               THE COURT REPORTER:       Yes.    I'm sorry, Judge.          Yes.   I

  6   can't hear him.

  7               THE COURT:     Mr. Kok, if you could get a little closer

  8   to your microphone and try to speak directly into that, that

  9   would help our court reporter who is taking down the

10    transcript.

11                We've got your oath on record, however, so you can

12    put your hand down.        All right.

13                MR. MURPHY:     Judge -- Judge, I --

14                THE COURT:     Hold on.

15                MR. MURPHY:     Gee, speak as if you're speaking to a

16    large group, okay?        Sometimes microphones aren't all that

17    great.    So, belt it out nice and loud.           It's the most

18    important thing that the court reporter hears you, okay?

19                THE DEFENDANT:      Okay.    Thank you.

20                MR. MURPHY:     I'm sorry, Judge.

21                THE COURT:     That's all right.       Thank you.

22                The first order of business is obviously we are not

23    in person in the courtroom here in Chicago.              Mr. Kok is

24    appearing from --

25                Where are you, Mr. Kok?
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  1               THE DEFENDANT:      I'm in -- at home in England.

  2               THE COURT:     England?

  3               THE DEFENDANT:      Yes.

  4               THE COURT:     And your attorney is, where?

  5               MR. MURPHY:     Judge, I'm in Chicago.         I'm a couple

  6   blocks away.

  7               THE COURT:     Okay.

  8               Do you understand, Mr. Kok, that you have the right

  9   to have this hearing take place in person in the courtroom

10    here in Chicago if you choose to do so?

11                THE DEFENDANT:      Yes, I understand.

12                THE COURT:     And it's my understanding, from

13    information your counsel has provided, that you've requested

14    that this hearing take place by video rather than by appearing

15    in person in the courtroom; is that correct?

16                THE DEFENDANT:      Yes, that's correct.

17                THE COURT:     And that's in large measure to save you

18    the burden and inconvenience and exposure to potential COVID

19    and other pathogens that we're all still trying to avoid; is

20    that correct?

21                THE DEFENDANT:      Correct, yes, your Honor.

22                THE COURT:     All right.

23                Have you had enough time to talk with Mr. Murphy,

24    your attorney, about proceeding by video or in person?

25                THE DEFENDANT:      Yes.
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  1               THE COURT REPORTER:        I'm sorry, Judge, I didn't hear

  2   his answer.      I'm sorry.     This is Joe.

  3               THE DEFENDANT:      Yes.

  4               THE COURT:     Have you had enough time to talk with

  5   Mr. Murphy, your attorney, about proceeding by video or in

  6   person?

  7               THE DEFENDANT:      Yes, I had conversation with Gene

  8   Murphy, your Honor.

  9               THE COURT:     All right.

10                And is it your voluntary decision to request that

11    this hearing take place by video rather than in person?

12                THE DEFENDANT:      Yes.

13                THE COURT:     All right.

14                Do you voluntarily waive your right to have this

15    hearing take place in person?

16                THE DEFENDANT:      Yes, your Honor.

17                THE COURT:     All right.

18                I find that Mr. Kok has voluntarily and knowingly

19    waived his right to proceed by video -- or, excuse me, by an

20    in-person appearance in court, and consequently we will

21    proceed, as we are, by videoconference.

22                                     EXAMINATION

23    BY THE COURT:

24    Q.   Mr. Kok, could you state your full name, please.

25    A.   My full name is Gee Siong Kok.
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  1   Q.   Could you spell that for our court reporter?

  2   A.   G-double e, space, S-i-o-n-g, space, K-o-k.

  3   Q.   Thank you.

  4                How old are you, sir?

  5   A.   I'm 64 years old.       64, your Honor.

  6   Q.   Do you presently live in London?

  7   A.   Not in London, in England.          I'm in a small town in the

  8   west of London, Weston super Mare.

  9   Q.   And are you married?

10                 THE COURT REPORTER:      I'm sorry, Judge, this is Joe.

11    I didn't hear the last part.          West London, did he say?

12                 THE DEFENDANT:     West of London in a town called

13    Weston super Mare.        W-e-s-t-o-n-s-u-p-e-r-M-a-r-e.

14    BY THE COURT:

15    Q.   Are you married, sir?

16    A.   Yes, your Honor.

17    Q.   How long have you been married?

18    A.   40 years.

19    Q.   4-0?

20    A.   4-0, your Honor.

21    Q.   Okay.

22                 Do you have children?

23    A.   Yes.    I have five children.

24    Q.   Are they all adults at this stage?

25    A.   Yes, all of them are adults, your Honor.
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  1   Q.   Okay.

  2                What's the highest level of formal education you've

  3   completed?

  4   A.   Degree in communication engineering.

  5   Q.   Is that a college or university-level degree?

  6   A.   University-level degree.

  7   Q.   And where did you attend university?

  8   A.   I attend University in Plymouth, England.              Plymouth

  9   University, England.

10    Q.   So, I take it you're able to read and write English?

11    A.   Yes, your Honor.

12    Q.   Though English is not your native language; is that

13    correct?

14    A.   It's my preferred language, your Honor.

15    Q.   All right.

16    A.   My native English -- my native language is Hokkien, which

17    is a Chinese dialect.

18    Q.   And you prefer to proceed in English rather than in your

19    native language?

20    A.   Yes, your Honor.

21    Q.   Okay.

22                 And are you presently employed?

23    A.   No, I'm not employed.

24    Q.   All right.      When did your employment end?

25    A.   Around 2 --
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  1   Q.   Let me rephrase that.        I'm sorry, let me rephrase that

  2   question.

  3                What's the last, most recent job that you've held?

  4   A.   The last job that I held was with Hytera Communications in

  5   England.

  6   Q.   Okay.

  7                And before working for Hytera, did you work for

  8   Motorola?

  9   A.   Yes, I did.

10    Q.   And did your work for those two companies span several

11    decades at least?

12    A.   Yes, your Honor.

13    Q.   Do you feel like you're in good physical health?

14    A.   Just normal old age stuff.          Other than that, yes,

15    physically, I'm in good health.

16    Q.   All right.

17                 Do you take any prescription medications?

18    A.   Yes, I have prescription medication.

19    Q.   Do any of those medications affect your ability to think

20    clearly?

21    A.   No.    Those --

22    Q.   Have you --

23    A.   Those medications are for pain.

24    Q.   All right.

25                 Have you had any of those medications today?
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  1    A.   In the morning, yes.

  2    Q.   And is that a regular time that you take your medications?

  3    A.   Yes, it is, your Honor.

  4    Q.   All right.

  5               Do those medications that you've taken this morning

  6    have any effect on your ability to think clearly this

  7    afternoon?

  8    A.   No.

  9    Q.   And have you ever been under the care of any mental health

 10    professional?

 11    A.   No.

 12    Q.   Other than the medications that we just talked about, have

 13    you had any other drugs or alcohol in the last 24 hours?

 14    A.   No.

 15    Q.   Is there any reason that you do not feel physically or

 16    mentally up to making important decisions here this afternoon?

 17    A.   No.

 18               THE COURT:     Mr. Murphy, do you have any reason to

 19    doubt Mr. Kok's competence to enter a plea of guilty at this

 20    time?

 21               MR. MURPHY:      No, Judge.     I believe he's competent.

 22               THE COURT:     Does the government have any reason to

 23    doubt or question Mr. Kok's competence?

 24               MS. WELLS:     No, your Honor.

 25               THE COURT:     Based on my own observation of Mr. Kok
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  1    and his demeanor by video, and based also on the substance of

  2    his responses to the Court's questions, I have no reason to

  3    believe that Mr. Kok is not competent to enter a plea of

  4    guilty at this time.

  5    BY THE COURT:

  6    Q.   Mr. Kok, can you tell me who the attorney is that

  7    represents you in this case?

  8    A.   Gene Murphy.

  9    Q.   Have you had enough time to talk with Mr. Murphy about

 10    this case generally?

 11    A.   Yes.    I've spoken to Gene this week.

 12    Q.   All right.

 13                 Not just this week, but have you had time to talk

 14    with him previously, as well?

 15    A.   Yes, your Honor.       We have been in constant communication.

 16    Q.   Okay.

 17                 And have you had enough time to talk with him about

 18    what we're doing here this afternoon, entering a guilty plea

 19    to one of the charges against you?

 20    A.   Yes, we have spoken on this, your Honor.

 21    Q.   Do you feel like you need to confer any further with Mr.

 22    Murphy before we proceed?

 23    A.   No, your Honor.

 24    Q.   All right.

 25                 Are you satisfied with the advice and counsel that
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  1    Mr. Murphy has provided to you as your attorney?

  2    A.   Yes, your Honor.

  3    Q.   Is there anything you think he should have done for you as

  4    your attorney that he has not done?

  5    A.   No.

  6    Q.   I'm sure one of the things that Mr. Murphy has talked to

  7    you about are the rights that you give up by pleading guilty.

  8    These rights are so important that we're required to go

  9    through them on the record with you to make sure that you've

 10    heard and understand them.

 11               When I'm talking to you about these rights, they all

 12    start with the fundamental proposition that under the law, you

 13    are presumed to be not guilty of any of the charges that have

 14    been brought against you.

 15               Do you understand that?

 16    A.   Yes, your Honor.

 17    Q.   And because under the law you are presumed to be not

 18    guilty of those charges, the law places the burden of proof in

 19    this case on the government, and the government's burden here

 20    is to present evidence sufficient to prove your guilt beyond a

 21    reasonable doubt.       That's the standard and burden of proof

 22    that apply in a federal criminal case.

 23               Do you understand that?

 24    A.   Yes, your Honor.

 25    Q.   And the way that we put the government to its burden is by
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  1    having a jury trial.        And I'll talk to you about a jury trial

  2    in just a minute.       The first thing I want to tell you is

  3    during the course of this prosecution, including any trial,

  4    you have the right to have counsel represent you.

  5               Do you understand that?

  6    A.   Yes, your Honor.

  7    Q.   Mr. Murphy is presently your counsel.            If he was unable to

  8    continue for any reason, we would give you the opportunity to

  9    retain new counsel; or, if you could not afford new counsel,

 10    counsel would be appointed to represent you.

 11               Do you understand that?

 12    A.   Yes, your Honor.

 13    Q.   You also have the right to have the trial in this matter

 14    take place in a public forum, in a public courtroom.                The

 15    government can't take you off somewhere and have a trial in

 16    secret.    And proceedings would be open to your family, your

 17    friends, colleagues, co-workers, the media, strangers off the

 18    street who just wanted to see a trial.            Anybody that wanted to

 19    be present in the courtroom would be permitted to observe the

 20    trial.

 21               Do you understand you have the right to a public

 22    trial?

 23    A.   Yes, I do, your Honor.

 24    Q.   All right.

 25               Now, a jury trial starts with the selection of a
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  1    jury.    And a jury is just a group, in a criminal case, of 12

  2    citizens who are called to serve as jurors in the case.                  And

  3    the responsibility of the jurors collectively is to listen to

  4    the evidence that's presented in the trial and decide whether

  5    that evidence proves the defendant guilty of any of the

  6    charges beyond a reasonable doubt.           That's the jury's basic

  7    function.

  8                Do you understand that?

  9    A.   Yes, your Honor.

 10    Q.   All right.

 11                Now, we don't just take 12 people off the street at

 12    random and tell them you're going to be the jurors in this

 13    case.    We go through a very rigorous selection process to pick

 14    people who we believe will be fair and impartial jurors in

 15    this particular case.        And in that process, you and Mr. Murphy

 16    have a very big role to play and ultimately a very big say in

 17    determining who the jurors in this case will be.               Let me

 18    explain why.

 19                First, when we call in potential jurors to serve in

 20    the case, we ask them questions so that we can get information

 21    about their background, their attitudes, their experiences, in

 22    order to assess whether we think that they are going to be

 23    fair and impartial jurors in this case.             Mr. Murphy can

 24    participate in that process by submitting questions that we

 25    would ask those potential jurors, and he might even be able to
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  1    pose some of the questions to the jurors himself.

  2               So, number one, you'd participate in the questioning

  3    of the jurors.      Number two, if you and Mr. Murphy think

  4    someone's not going to be fair and impartial based on the

  5    information that we obtain about them, Mr. Murphy can make

  6    what are called challenges for cause, which are just

  7    objections that say, Judge, this person is not going to be

  8    fair and impartial; they should not be permitted to sit as a

  9    juror in this case.       And if I agree, then that person would be

 10    struck from the jury pool and would not be permitted to be on

 11    the jury in this case.        That's called a challenge for cause.

 12               Do you understand that?

 13    A.   Yes, your Honor.

 14    Q.   The other thing to understand about the -- about

 15    challenges for cause is there's no limit to the number that

 16    you can make.      As many people as you and Mr. Murphy might

 17    object to, that's how many challenges you can make.                Now, odds

 18    are that I won't agree with all of your challenges, but

 19    there's no limit to the number you can make.

 20               Do you understand that?

 21    A.   Yes, I understand, your Honor.

 22    Q.   All right.

 23               Third, there's another kind of challenge you can

 24    exercise in this case, and that's called a peremptory

 25    challenge.     A peremptory challenge is more powerful than a
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  1    challenge for cause because I don't rule on peremptory

  2    challenges.

  3               On a peremptory challenge, you have the ability to

  4    strike someone from the jury pool for almost any reason at

  5    all.   The only reason you can't strike someone from the jury

  6    with a peremptory challenge would be for an unconstitutional

  7    reason.    For instance, you can't use peremptory challenges to

  8    strike people based on their race or their religion, their

  9    gender, categories like that.          But any other reason that you

 10    might have, you can use your peremptory challenge to strike

 11    people from the jury pool.

 12               So, if someone came in to serve as a juror and you

 13    just thought they had a bad attitude, they didn't want to

 14    spend a week or two or a month, however long the trial would

 15    take, sitting as a juror in the case -- they have something

 16    important going on at work or maybe their spouse is in the

 17    hospital or their daughter's getting married, whatever the

 18    case may be -- if you think they're going to be distracted and

 19    not be a good juror, you could use your peremptory challenges.

 20               You could use your peremptory challenges to strike

 21    people just because you don't like the way they're dressed or

 22    you think they're too rich or too poor or too dumb or too

 23    smart.    Anything but those unconstitutional reasons can serve

 24    as the basis for a peremptory challenge?

 25               Now, peremptory challenges I don't rule on.              So, they
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  1    are very -- they're much more powerful than challenges for

  2    cause.    Because they're so powerful, you don't get an

  3    unlimited number of peremptory challenges, but you would have

  4    at least ten peremptory challenges to use in picking a jury in

  5    this case.     So, if we brought in 40 people to select a jury of

  6    12 from and you can strike ten of those people with peremptory

  7    challenges for any reason at all, that's 25 percent of the

  8    jury pool right there.        That's why I say the peremptory

  9    challenges are very powerful.

 10                 Do you understand?

 11    A.   I understand, your Honor.

 12    Q.   Okay.

 13                 So, between questioning jurors, making challenges for

 14    cause and exercising peremptory challenges, that's why I say

 15    that you and Mr. Murphy will have a very big say in

 16    determining who ultimately is selected to serve on the jury in

 17    the case.

 18                 Do you understand that?

 19    A.   Yes, your Honor.

 20    Q.   Okay.

 21                 Now, once the jury's been selected, the lawyers make

 22    their opening statements, and then because the government has

 23    the burden of proof in the case, the government has to present

 24    its evidence.      And it does that by calling witnesses or

 25    presenting tangible items or documents into evidence.                There's
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  1    a couple things I want to make sure you understand about that

  2    process.

  3                 First, the government doesn't get to necessarily show

  4    or tell the jury everything it would like to.              It has to

  5    proceed by rules of evidence and rules of procedure.                And if

  6    Mr. Murphy believes that they're not following those rules, he

  7    can make objections to the government's evidence.               And if I

  8    agree with him, I would not permit the government to present

  9    that evidence.      So, you have the right to challenge the

 10    government's evidence.

 11                 Do you understand that?

 12    A.   Yes, I understand, your Honor.

 13    Q.   Okay.

 14                 And one of the most important ways that you can

 15    challenge the government's evidence is through cross-

 16    examination.     And cross-examination just means that you have

 17    the right to question any of the witnesses that the government

 18    calls to testify at trial.         It's not just the government that

 19    gets to ask the questions.         Your attorney would have that

 20    ability, too.

 21                 Do you understand that?

 22    A.   Yes, I understand, your Honor.

 23    Q.   Okay.

 24                 Now, once the government presents its evidence, as

 25    the defendant in the case, you have the right, but not the
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  1    obligation, to present evidence yourself.             And I say the right

  2    but not the obligation because it goes back to that very first

  3    point I made.      You are presumed to be not guilty; therefore,

  4    you have no burden of proof, and therefore you do not have to

  5    present any evidence at all at the trial.             You don't have to

  6    prove that you're not guilty.          The government has to prove

  7    that you are guilty.

  8               Do you understand that distinction?

  9    A.   Yes, I understand, your Honor.

 10    Q.   That said, if you and Mr. Murphy had evidence you wanted

 11    to present to the jury that you thought would help convince

 12    them that you're not guilty, you have the right to do that

 13    under the same rules and procedures that the government

 14    operates under.      So, you have the right to call witnesses.

 15    You have the right to present exhibits into evidence and

 16    things like that.

 17               Do you understand that?

 18    A.   Yes, I understand, your Honor.

 19    Q.   Now, one of the types of evidence that you have the

 20    ability to present, if you choose to do so, is your own

 21    testimony.     If we went to trial, you would have the right to

 22    testify if you wish to do so.          You also have the right not to

 23    testify if you don't want to do so.            And the decision about

 24    whether to testify or not is a decision that you alone get to

 25    make.    It's not a decision that Mr. Murphy can make for you or
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  1    that the government makes for you or that the Court can make

  2    for you.    It's your decision.

  3               Mr. Murphy is an experienced, very competent criminal

  4    defense attorney.       He would certainly give you the benefit of

  5    his advice and expertise about whether it makes sense for you

  6    to testify or not.       But at the end of the day, if you don't

  7    like his advice on that matter, you don't have to listen to

  8    it, because it's your decision, not his?

  9               Do you understand that?

 10    A.   Yes, I understand, your Honor.

 11    Q.   All right.

 12               Now, if you chose to testify at trial, the jury would

 13    be instructed to consider your testimony in the same way that

 14    it considers the testimony of any other witness who testifies

 15    during the trial.       If you chose not to testify, however, the

 16    jury would also be instructed that they could not hold that

 17    decision against you.        And what I mean by that is the jurors

 18    are told that they can't say to themselves, Mr. Kok must be

 19    guilty; if he wasn't guilty, he would have taken an oath to

 20    tell the truth, he would have gone on the witness stand and he

 21    would have told us he's not guilty; since he didn't do that, I

 22    think he's guilty.

 23               The jurors can't indulge in those inferences.

 24               Do you understand that?

 25    A.   Yes, I understand, your Honor.
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  1    Q.   In fact, if you chose not to testify at trial, I would

  2    instruct the jury that they cannot even mention the fact that

  3    you chose not to testify when they're deliberating on a

  4    verdict.

  5                 Do you understand?

  6    A.   Yes, I understand, your Honor.

  7    Q.   Okay.

  8                 Now, another point I want to make about what you can

  9    present as evidence at trial is it's important to understand

 10    that if you wanted to present evidence from a witness, for

 11    example, but they weren't willing to come to trial

 12    voluntarily, Mr. Murphy has the ability, just like the

 13    government, to issue what are called trial subpoenas.                Those

 14    are just court orders that require someone to come and present

 15    their evidence at trial.         And I would enforce trial subpoenas

 16    issued by Mr. Murphy in the same way that I enforce trial

 17    subpoenas issued by the government.

 18                 So, you have the ability to compel witnesses to come

 19    forward at the trial.

 20                 Do you understand that?

 21    A.   Yes, I understand, your Honor.

 22    Q.   Okay.

 23                 Now, once both sides had presented whatever evidence

 24    they wanted to present, the lawyers make their closing

 25    arguments, the judge instructs the jury about the law that
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  1    applies in the case, and then the jurors go to the jury room

  2    to deliberate, meaning to discuss the evidence and the law,

  3    and to try to come to a verdict about whether that evidence

  4    proved the defendant guilty of any of the charges that had

  5    been brought against him.

  6               Couple of important things to understand about the

  7    jury verdict or a jury verdict.           In order for the jury to come

  8    back with a verdict, whether it's guilty or not guilty, they

  9    have to be unanimous in their view.            So, a guilty verdict --

 10    in order for a guilty verdict to be returned, all 12 of the

 11    jurors have to agree that the evidence proved the defendant

 12    guilty beyond a reasonable doubt.           If even one juror is not

 13    convinced beyond a reasonable doubt, the jury cannot return a

 14    verdict.

 15               Do you understand that?

 16    A.   Yes, I understand, your Honor.

 17    Q.   Now, if the jury comes back with a verdict, whether --

 18    let's just say for the sake of discussion the jury came back

 19    with a verdict of guilty, your rights would not be over even

 20    at that point because you have the right -- you would have the

 21    right to appeal the jury's verdict to a reviewing court, a

 22    court of appeals.

 23               Do you understand you have the right to appeal the

 24    jury's verdict?

 25    A.   Yes, I understand, your Honor.
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  1    Q.   And on appeal, you have the right to be represented again

  2    by counsel and you have the right to go to the United States

  3    Court of Appeals for the Seventh Circuit.             That's the

  4    appellate court that sits in this courthouse in Chicago where

  5    I'm located, and it reviews, among other cases, federal

  6    criminal cases from Indiana, Illinois and Wisconsin.

  7               And you have the right to go to the Seventh Circuit

  8    with your attorney and make whatever arguments you may have

  9    that there were errors made in your trial and that the errors

 10    deprived you of a fair trial.          You may have arguments that the

 11    judge made incorrect rulings or that the government did

 12    something improper or just that the jury didn't have enough

 13    evidence to find you guilty beyond a reasonable doubt.

 14               Whatever your arguments, you can present them to the

 15    Court of Appeals, and if they agree with you and they agree

 16    that those errors were sufficient to deprive you of a fair

 17    trial, you might be able to have a new trial.              Sometimes if

 18    the errors are serious enough, the Court of Appeals might tell

 19    the government you can't retry this individual, you have to

 20    dismiss the charges against him.           Now, that doesn't happen

 21    very often.

 22               My point in telling you this is if we continue with

 23    this process this afternoon and I accept your plea of guilty,

 24    there's not going to be anything -- any trial errors to appeal

 25    from because we're not going to have a trial, we're not going
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                                                                                    24

  1    to pick a jury, we're not going to present evidence.

  2                 Do you understand that?

  3    A.   Yes, I understand, your Honor.

  4    Q.   It's also important to understand that if we go forward

  5    here and I accept your guilty plea and the plea agreement

  6    that's been entered into, that you surrender not only trial

  7    rights, but you surrender most of your appellate rights, as

  8    well.

  9                 Do you understand that the plea agreement in this

 10    case includes an appellate waiver if the government makes a

 11    motion to lower your sentence based on cooperation that you've

 12    provided; and, if the government makes that motion, you give

 13    up your right to appeal basically anything other than the

 14    voluntariness of your guilty plea or the effectiveness of your

 15    counsel?

 16                 Do you understand you give up those appellate rights

 17    here if we go forward and I conclude that you're guilty and I

 18    accept the plea agreement that the parties have entered into?

 19    Do you understand that?

 20    A.   Yes, I understand, your Honor.

 21    Q.   Okay.    That's a jury trial.        That's the jury trial

 22    process.

 23                 There's another kind of trial that I have to talk to

 24    you about briefly, and that's called a bench trial.                A bench

 25    trial proceeds just like a jury trial with one big exception.
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  1    In a bench trial, we don't pick a jury to listen to the

  2    evidence and render a verdict.          In a bench trial, the judge

  3    does that rather than a jury.

  4                 Now, that's the big difference between a bench trial

  5    and a jury trial.       Another difference to understand is that

  6    you have an absolute right to a jury trial.              You don't even

  7    have to ask for one.        You don't have a right to a bench trial.

  8    You have the right to ask for a bench trial, but the

  9    government could object to a bench trial or the Court could

 10    object to a bench trial, in which case you would not be able

 11    to have a bench trial.        But if you thought that's how you

 12    wanted to resolve the charges against you, you do have the

 13    right to make that request.

 14                 Do you understand the difference between a bench

 15    trial and a jury trial?

 16    A.   Yes, your Honor.

 17    Q.   I understand that the parties have reached a plea

 18    agreement.     Do you have a copy of the plea agreement there

 19    with you, Mr. Kok?

 20    A.   Yes, I do.     Let me get it.

 21    Q.   Okay.

 22                 Do you have it there in front of you now?

 23    A.   Can I just go off and pick it up?

 24    Q.   Sure.    Yes, please.

 25    A.   Okay.    Thank you.
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                                                                                26

  1         (Brief pause.)

  2               THE DEFENDANT:      Okay.    Sorry about that, your Honor.

  3    I've got the plea agreement.

  4               THE COURT:     That's all right.

  5    BY THE COURT:

  6    Q.   Would you look at the last page of that plea agreement,

  7    please.    And does that page bear your signature?

  8    A.   Yes, it does, your Honor.

  9    Q.   And that's your signature above your typewritten name?

 10    A.   Yes, it is, your Honor.

 11    Q.   All right.

 12               Now, did you read this document before you signed it?

 13    A.   Yes, I did, your Honor.

 14    Q.   And did you have enough time to discuss it with Mr.

 15    Murphy?

 16    A.   Yes, your Honor.

 17    Q.   Did you sign this plea agreement voluntarily?

 18    A.   Yes, I did, your Honor.

 19    Q.   Did anyone force you or coerce you in any way to sign this

 20    plea agreement?

 21    A.   No, your Honor.

 22    Q.   You understand that this plea agreement is basically a

 23    contract between you and the government?             You promise to do

 24    certain things and, in exchange, the government promises to do

 25    certain things.      Do you understand that's the nature of the
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                                                                                27

  1    plea agreement?

  2    A.   Yes, your Honor.

  3    Q.   Other than any promises that are included in the plea

  4    agreement, has anyone promised you anything in order to induce

  5    you or entice you to sign the plea agreement?

  6    A.   No, your Honor.

  7    Q.   And you understand that in this plea agreement, you are

  8    agreeing to enter a voluntary plea of guilty to Count 1 of the

  9    indictment in this case, which charges you with conspiring to

 10    steal trade secrets, in violation of Title 18 of the United

 11    States Code, Section 1832(a)(5)?

 12               Do you understand that's the charge that you will be

 13    convicted of if I accept your plea of guilty?

 14    A.   Yes, your Honor.

 15    Q.   All right.

 16               Do you understand that someone who is convicted of

 17    that charge could be sentenced up to ten years of

 18    imprisonment, fined up to $250,000 or twice the gross gain or

 19    gross loss resulting from the offense, whichever is greater,

 20    and a term of what's called supervised release can be imposed

 21    of up to three years.        In addition, the Court would be

 22    required to impose what's called a special assessment of $100?

 23    Collectively, those comprise the maximum penalties that can be

 24    imposed in this case.

 25               Do you understand that?
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                                                                                28

  1    A.   Yes, I do, your Honor.

  2    Q.   Now, those are the maximum penalties.            They're not

  3    necessarily the penalties that will be imposed.

  4               You understand that you're not going to be sentenced

  5    today, correct?

  6    A.   Yes, I understand, your Honor.

  7    Q.   And that's because I don't have the necessary information

  8    to sentence you, to determine the appropriate sentence to

  9    impose.    And we won't have that in this case for a number of

 10    months because, number one, I need background information

 11    about you that I get through the preparation of what's called

 12    a Presentence Investigation Report.            That's a report prepared

 13    by the Probation Department of the court.             And it gives me

 14    information about your background, your education, your

 15    health, your financial situation, gives me more background

 16    about the offense that you committed, and it provides

 17    preliminary calculations of the advisory Sentencing Guideline

 18    range that applies in the case.

 19               Once I have all of that information, it's likely --

 20    and counsel can correct me if I'm making an unwarranted

 21    assumption here, but it's likely that sentencing in this case

 22    would be deferred further until your cooperation with the

 23    government has reached, if not an endpoint, a point where it

 24    makes sense to go forward with the sentencing.               So, it will be

 25    some period of time -- months, perhaps longer -- before you're
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                                                                                   29

  1    actually sentenced in this case.

  2                 Do you understand that?

  3    A.   Yes, your Honor.

  4    Q.   Okay.

  5                 Now, one of the pieces of information that I need

  6    before sentencing is a preliminary calculation of the advisory

  7    Sentencing Guideline range that applies in the case.                Have you

  8    had a chance to talk with Mr. Murphy about the Sentencing

  9    Guidelines and the role that they play in sentencing?

 10    A.   I do.

 11    Q.   All right.

 12                 A couple things I want to make sure you understand

 13    about the Sentencing Guidelines.           First, they're called the

 14    Sentencing Guidelines because that's what they are.                They are

 15    guidelines.     They're not binding on the Court.            I'm required

 16    to calculate what the Guidelines suggest that the sentence

 17    that is appropriate in this case, but I have the discretion to

 18    conclude that the Guideline sentence is not the appropriate

 19    sentence for many reasons and that, therefore, a sentence

 20    other than the Guidelines suggest may be appropriate.                And,

 21    ultimately, I have the discretion to sentence you within the

 22    Guideline range, below that range or above that range, all the

 23    way up to those maximum penalties that we just talked about.

 24                 Do you understand that the Court has that discretion?

 25    A.   I understand, your Honor.
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                                                                                30

  1    Q.   Okay.

  2                 Understanding that, I want to make sure that you have

  3    some sense of what the Guideline range in this case may be.

  4    I'm going to ask the lawyers what their preliminary views of

  5    the Guidelines are because I'm required to consider the

  6    Guidelines, and their discussions and thought is the best

  7    information we have right now about what the Guidelines are

  8    likely to be.

  9                 THE COURT:    Government, what's your preliminary

 10    calculation of the Guideline range?

 11                 MS. WELLS:    Your Honor, our preliminary calculation

 12    is that there would be an Offense Level -- an Adjusted Offense

 13    Level -- of 37.      And the Guideline calculation is detailed on

 14    Page 10 of the plea agreement.          Combined with an anticipated

 15    Criminal History Category of I, that would result in an

 16    advisory Guidelines range of 210 to 262 months of

 17    imprisonment.      However, pursuant to Guideline 5G1.1(a),

 18    because the statutory maximum sentence is less than that

 19    Guidelines range, the Guideline sentence is the statutory

 20    maximum of 120 months in prison.

 21                 THE COURT:    All right.

 22                 Mr. Murphy, do you anticipate any disputes about the

 23    calculation of the Guideline range at this point?

 24                 MR. MURPHY:    That's my understanding at this time,

 25    Judge.
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  1               THE COURT:     All right.

  2    BY THE COURT:

  3    Q.   So, right now, Mr. Kok, Mr. Murphy agrees with the

  4    government that when you apply the rules that are set forth in

  5    the Guidelines, the suggested sentence is going to actually be

  6    lower than what the Guidelines would suggest but for the

  7    maximum penalty that can be imposed.            As we discussed, there's

  8    a ten-year maximum penalty that can be imposed based on a

  9    conviction on Count 1.        The Guideline range would be higher

 10    but for that maximum penalty.          So, in this case, the Guideline

 11    range, the parties believe, is going to be the maximum penalty

 12    under the law, which is ten years of imprisonment.

 13               Do you understand that?

 14    A.   Yes, I understand, your Honor.

 15    Q.   Now, do you also understand that -- never mind.

 16               I don't have the discretion to go above that because

 17    that's the statutory maximum.          I do have the discretion to go

 18    lower than that, though.

 19               Now, the penalties that are imposed in this case, Mr.

 20    Kok, or the sentence that's imposed is obviously the most

 21    significant consequence of being found guilty of this charge,

 22    but it's not the only consequence.           By that, I mean that the

 23    law imposes restrictions and requirements on people who have

 24    been convicted of felony convictions -- felony offenses.                 And

 25    this is a felony offense, Count 1 of the indictment.
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  1               The law imposes various restrictions on people who

  2    have been convicted of felonies.           Common examples are that one

  3    can't possess a firearm in most jurisdictions if you have been

  4    convicted of a felony.        You can't vote in many jurisdictions

  5    if you've been convicted of a felony.            You can't run for

  6    office if you've been convicted of a felony.              In federal

  7    court, you can't sit as a juror in a federal criminal case if

  8    you've been convicted of a felony.

  9               There are many, many restrictions like that that are

 10    imposed on people who have been convicted of felonies.                   There

 11    are too many for me to list them all for you, and they change

 12    and vary from place to place and jurisdiction to jurisdiction.

 13    So, I can't possibly warn you about all of them.               If you have

 14    any concerns about those kinds of things, that's something

 15    that you need to discuss with your attorney before pleading

 16    guilty.    Because if you wait until after you've pled guilty to

 17    come back and say, Judge, I didn't know I was going to lose

 18    this right or that right, I'd like to withdraw my guilty plea,

 19    it's going to be too late for that.

 20               Do you understand that?

 21    A.   Yes, your Honor.

 22    Q.   All right.

 23               I also want to make particularly clear that folks who

 24    are not United States citizens very likely for -- after being

 25    convicted of this crime, very likely would face deportation
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  1    proceedings from the United States.            So, if that's a concern

  2    of yours, that's something, again, that you have to give

  3    thought to before you plead guilty rather than afterwards.

  4                Do you understand?

  5    A.   Yes, I understand, your Honor.

  6    Q.   Would you turn -- take that plea agreement, again, Mr.

  7    Kok, and turn to Page 2.         And do you see about a third of the

  8    way down that page, there's a heading that's underlined that

  9    says, "Factual Basis."

 10                Are you with me there?

 11    A.   Factual basis, yes.

 12    Q.   On Page 2?

 13    A.   Yes.

 14    Q.   That factual basis in the plea agreement continues for a

 15    number of pages all the way to about the middle of Page 8.

 16                Now, when you signed the plea agreement, did you

 17    understand that that factual basis is essentially a written

 18    confession as to why you're guilty of the charge set forth in

 19    Count 1 of the indictment?

 20    A.   Yes, your Honor.

 21    Q.   Understanding that's the nature of that portion of the

 22    plea agreement, did you read it very carefully?

 23    A.   Yes, your Honor.

 24    Q.   And were you satisfied that that factual basis set forth

 25    in the plea agreement was completely 100 percent accurate when
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                                                                                34

  1    you signed that plea agreement?

  2    A.   Yes, your Honor.

  3    Q.   Do you continue to this present time to believe that the

  4    factual basis in the plea agreement is completely 100 percent

  5    accurate?

  6    A.   Yes, your Honor.

  7    Q.   All right.

  8                When your attorney was negotiating the plea agreement

  9    with the government, did you have the opportunity to review

 10    earlier drafts of the factual basis?

 11    A.   Yes, I did, your Honor.

 12    Q.   Did you understand that if you felt something was not

 13    accurate or correct in that draft, that it should be corrected

 14    and the error should be pointed out?

 15    A.   Yes, I did, your Honor.

 16    Q.   Did you make any such corrections to earlier drafts?

 17    A.   No, your Honor.

 18    Q.   All right.

 19                Is that because you were satisfied that all along the

 20    factual basis has been completely accurate?

 21    A.   Yes, your Honor.

 22    Q.   All right.

 23                THE COURT:    Understanding -- either Ms. Wells or

 24    Mr. Dollear, understanding that Mr. Kok has affirmed the

 25    accuracy of the detailed factual basis set forth in the plea
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  1    agreement, I'll ask one of you to summarize what the evidence

  2    at trial would be, summarize being the operative word here.

  3    BY THE COURT:

  4    Q.   And, Mr. Kok, I'm going to ask you to listen closely to

  5    the prosecutor.      They're going to tell me if this case went to

  6    trial what their evidence would show.            And when they're

  7    finished, I'm going to ask you whether you disagree with

  8    anything that they've told me.          All right?

  9    A.   Okay.

 10                 THE COURT:   Ms. Wells?

 11                 MS. WELLS:   Yes, your Honor, I'll proceed.

 12                 As the Court noted, there is a detailed factual basis

 13    contained in Paragraph 6 of the plea agreement that has been

 14    reviewed and signed by the defendant.            In summary, the

 15    government's evidence would show that beginning on or around

 16    June 8, 2007, and continuing until at least on or about June

 17    22nd, 2020, the defendant, along with others, including the

 18    other named defendants in this case, conspired to and did

 19    steal trade secrets from the named victim Motorola.

 20                 Defendant and others worked for a company called

 21    Hytera, which was headquartered in China.             Motorola

 22    Solutions, Inc., was a telecommunications company

 23    headquartered in Illinois with offices around the world.                 As

 24    the defendant has acknowledged in the factual basis, he was

 25    aware that hundreds of Motorola employees had spent a number
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                                                                                     36

  1    of years developing digital mobile radio technology for

  2    Motorola.     He also knew that by approximately 2007, Motorola

  3    was offering those digital mobile radios or DMRs for sale to

  4    the public.

  5                By at least June 2007, an executive at Hytera, noted

  6    as Executive 1 in the plea agreement, had begun to recruit the

  7    defendant to leave Motorola and to start working for Hytera in

  8    China.    During that recruitment, Executive 1 and the defendant

  9    met in person many times.         At the time of his recruitment to

 10    Hytera, defendant was a senior engineering manager responsible

 11    for DMR products at Motorola.

 12                On occasion, Executive 1 told the defendant that he

 13    wanted to develop Hytera's DMR products in two years.                The

 14    defendant believed that it would take several more years to

 15    develop a product like Motorola's, but Executive 1 instructed

 16    him to develop the technology faster.            The defendant -- excuse

 17    me.   Executive 1 requested, and the defendant agreed, that

 18    they would steal Motorola's DMR technology.              To accomplish

 19    that, the defendant recruited several Motorola employees and

 20    told them to steal Motorola trade secrets, including

 21    proprietary source code related to DMR.

 22                The defendant began working at Hytera in 2008.               He

 23    earned a higher salary and purchased stock options.                He earned

 24    approximately -- he earned over $1 million during his

 25    employment at Hytera.        He was eventually made a member of
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  1    Hytera's Board of Directors.

  2               Among the employees recruited by the defendant were

  3    the other named defendants in this case.             In part, because of

  4    the defendant's instructions, co-defendants, including Yih

  5    Tzye Kok, Sam Chia, Wong, Hoong, and Chua, accessed and copied

  6    confidential proprietary and trade secret Motorola information

  7    and provided -- those co-defendants provided information from

  8    Motorola to Hytera without the victim's knowledge or consent.

  9               The defendant acknowledges that when defendants

 10    accessed Motorola documents from Malaysia, those requests were

 11    routed through servers in the Northern District of Illinois,

 12    and that other technical aspects of that routing took place in

 13    the United States.

 14               As instructed by Executive 1, the defendant told his

 15    co-defendant Sam Chia that he should take as much information

 16    as he could take from Motorola, including everything related

 17    to DMR, and that Chia, the co-defendant, along with others,

 18    stole proprietary Motorola DMR information, including the

 19    source code.

 20               Co-defendant Ooi was recruited by co-defendant Yih

 21    Tzye Kok to serve as a software development project manager.

 22    While at Motorola, the defendant supervised Wong, Hoong and

 23    Chua, all co-defendants in the case.            They were selected

 24    because of their particular expertise related to DMR and

 25    related technology.
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  1               As a result of Executive 1's instruction and

  2    defendant's efforts and efforts of other Hytera employees,

  3    Hytera's DMR technology used source code stolen from Motorola.

  4    The defendant was aware that Hytera marketed and sold its DMR

  5    which relied on that stolen technology around the world.                 And

  6    the defendant acknowledges that that Hytera DMR product was

  7    sold in the Northern District of Illinois at least as recently

  8    as November 2019.

  9               The defendant also knew that certain information

 10    stolen from Motorola and used by Hytera included Motorola

 11    trade secrets.      And he acknowledges that certain stolen

 12    information from Motorola were trade secrets because Motorola

 13    had taken reasonable security measures, both physical and

 14    cyber related, to keep that information secret.

 15               Based on the stolen trade secrets, Hytera was able to

 16    develop a DMR product by 2010.          Defendant acknowledges that

 17    the theft of trade secrets from Motorola caused at least

 18    $252,100,000 in pecuniary damage to Motorola in the form of

 19    lost profits.

 20               In September of 2017, the defendant testified in a

 21    deposition in connection with a civil lawsuit between Motorola

 22    and Hytera, and he acknowledges during the deposition and

 23    under oath he provided materially false testimony.

 24               And, your Honor, that is, as you said, a summary of

 25    the factual basis, but I'll stop there unless the Court has
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  1    any other questions.

  2    BY THE COURT:

  3    Q.   Mr. Kok, do you disagree with any of the statements that

  4    Ms. Wells just provided to the Court?

  5    A.   No, your Honor.

  6    Q.   So, from at least this 13-year period from 2007 to -- more

  7    than 13 years.      17 years, excuse me.        I can't subtract.

  8               During this approximately 17-year period, that you

  9    schemed with others to steal trade secrets of Motorola

 10    Corporation to advance the interests of Hytera?

 11    A.   2007 to 2017.      Ten years.

 12    Q.   Ten years.     I told you I'm not good at math.

 13               So, over that period do you agree you worked with the

 14    co-defendants who are named in this case to steal trade

 15    secrets from Motorola and provide them to Hytera?

 16    A.   Yes, I did, your Honor.

 17               THE COURT:     Based on the detailed factual stipulation

 18    that is set forth in the plea agreement, the accuracy of which

 19    Mr. Kok has confirmed under oath; based on the government's

 20    proffer of what its evidence at trial would show, the accuracy

 21    of which Mr. Kok has confirmed under oath, as well; and, based

 22    on his responses under oath to the Court's questions, I find

 23    that there is a factual basis to support a plea of guilty to

 24    Count 1 of the indictment in this case.

 25    BY THE COURT:
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                                                                                40

  1    Q.   The last thing I need to cover with you, Mr. Kok, is --

  2    and I asked you some of these questions already with respect

  3    to signing the plea agreement.          But now I'm asking you more

  4    broadly about your decision to plead guilty.              Has anyone

  5    forced you in any way to plead guilty to this charge?

  6    A.   No, your Honor.

  7    Q.   Has anyone threatened you in any way to cause you to plead

  8    guilty to this charge?

  9    A.   No, your Honor.

 10    Q.   Other than the plea agreement, have any promises been made

 11    to you to induce you or entice you to plead guilty?

 12    A.   No, your Honor.

 13    Q.   Has anyone promised you what your sentence in this case

 14    will be if you plead guilty?

 15    A.   No, your Honor.

 16    Q.   You understand that ultimately the sentence that is

 17    imposed in this case is a determination that I will make, it's

 18    not a determination that is dictated by your plea agreement.

 19               Do you understand that?

 20    A.   Yes, I understand, your Honor.

 21    Q.   Is your decision to plead guilty entirely voluntary?

 22    A.   Yes, it is, your Honor.

 23    Q.   Is it a decision that you have reached because you have

 24    decided it is in your own best interest to plead guilty?

 25    A.   Yes, your Honor.
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                                                                                41

  1    Q.   Is it a decision you've reached because you are, in fact,

  2    guilty of the charge set forth in Count 1 of the indictment?

  3    A.   Yes, your Honor.

  4    Q.   All right.

  5               Then the next question I'm going to ask you, Mr. Kok,

  6    is how you wish to plead to Count 1 of the indictment in this

  7    case.    If you tell me that you wish to plead guilty, I'm going

  8    to accept your plea of guilty, and you will at that point be

  9    adjudged guilty and it will be just like you had a trial and

 10    the jury came back with a verdict of guilty.              In other words,

 11    that's the point of no return.

 12               Do you understand that?

 13    A.   Yes, I understand, your Honor.

 14    Q.   Understanding that, Mr. Kok, how do you wish to plead to

 15    Count 1 of the indictment in this case?

 16    A.   Guilty, your Honor.

 17               THE COURT:     Since you acknowledge that you are, in

 18    fact, guilty as charged in Count 1, you had the assistance of

 19    counsel, you've been advised of your trial rights, we've

 20    talked about the sentencing process, the maximum possible

 21    punishment that can be imposed, the role that the Sentencing

 22    Guidelines play and you have acknowledged that you are freely

 23    and voluntarily pleading guilty, I accept your plea of guilty

 24    and I enter a finding of guilty on your plea as to Count 1 of

 25    the indictment.
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                                                                                   42

  1               All right.     Ordinarily, the next step in this process

  2    is the preparation of a Presentence Investigation Report.

  3    Does that make sense to start that at this point, counsel, or

  4    defer that process?

  5               MR. MURPHY:      Judge --

  6               MS. WELLS:     Your Honor, I would --

  7               MR. MURPHY:      I'm sorry.     Go ahead, Melody.

  8               MS. WELLS:     Your Honor, I would --

  9               MR. MURPHY:      Go ahead.

 10               MS. WELLS:     I would suggest deferring it, your Honor,

 11    but if Mr. Murphy feels otherwise, he can say so.

 12               MR. MURPHY:      No, I'm in total agreement.         Deferring

 13    makes a lot of sense, Judge.

 14               THE COURT:     All right.

 15               Then why don't we set -- I think we are safe in

 16    setting a status, say, six months out.            I don't think things

 17    are going to be materially resolved by that point.

 18               Does that make sense?

 19               MS. WELLS:     Yes.

 20               MR. MURPHY:      Yes, Judge.

 21               THE COURT:     We'll pick a date.

 22               Alberta, are you still on?

 23               THE CLERK:     Yes, I am.

 24               THE COURT:     Can you give us a date in --

 25               THE CLERK:     In June?
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  1               THE COURT:     Yes.    Maybe the 5th or 6th of June.

  2               THE CLERK:     June 5th at 2:30 p.m.

  3               THE COURT:     Is that convenient for counsel?

  4               MS. WELLS:     It is for the government, your Honor.

  5               MR. MURPHY:      Yes, Judge.

  6               THE COURT:     All right.

  7               I assume there's no dispute that Mr. Kok should

  8    remain on bond pending sentencing?

  9               MS. WELLS:     That's correct.

 10               MR. MURPHY:      That's correct, Judge.

 11               THE COURT:     Mr. Kok, you're going to remain on bond,

 12    subject to the pretrial conditions that have been imposed in

 13    this case, pending sentencing.          It's even more important now

 14    that you continue to abide by all your conditions of bond.

 15    Were you not to do that, not only might your bond be revoked,

 16    but the fact that you're ultimately not able to self-surrender

 17    to serve any prison sentence could adversely affect your

 18    designation in the Bureau of Prisons and result in assignment

 19    to a harsher institution than would otherwise be warranted.

 20    So, it's more important than ever to abide by all your

 21    conditions of release.

 22               Do you understand?

 23               THE DEFENDANT:      I understand, your Honor.

 24               THE COURT:     Okay.

 25               Anything else we need to do today, counsel?
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  1               MR. MURPHY:      I think we're good to go, Judge.

  2               THE COURT:     All right.       Thank you.    We'll convene in

  3    early June.     We're adjourned.

  4               MR. MURPHY:      Thank you, Judge.

  5               THE DEFENDANT:       May I say something, Judge?

  6               THE COURT:     Yes, Mr. Kok.

  7               THE DEFENDANT:       Thank you for accommodating remote

  8    change of plea.      It helped me to -- my family life as normal

  9    as possible, and I truly appreciate that.

 10               THE COURT:     You're welcome.

 11               All right.     Thank you, all.        We're adjourned.

 12               MR. MURPHY:      Thank you.

 13               THE DEFENDANT:       Thank you.

 14                                *     *    *     *    *

 15

 16    I certify that the foregoing is a correct transcript from the
       record of proceedings in the above-entitled matter.
 17

 18
       /s/ Joseph Rickhoff                                   December 5, 2022
 19    Official Court Reporter

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